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     SO. CAL. EQUAL ACCESS GROUP
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     Attorneys for Plaintiff
 6   JEREMY HOLLAND
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   JEREMY HOLLAND,                                   Case No.: 2:24-cv-05034-WLH (AGRx)
11
                  Plaintiff,                           NOTICE OF VOLUNTARY
12                                                     DISMISSAL OF ENTIRE ACTION
           vs.                                         WITH PREJUDICE
13
14   EARLS CHRISTOPHER D/B/A BIGG
     DADDY BLADES; WILLIE L. DAVIS,
15   AS TRUSTEE OF THE DAVIS FAMILY
16   TRUST; and DOES 1 to 10,
17                Defendants.
18
19
           PLEASE TAKE NOTICE that Plaintiff JEREMY HOLLAND (“Plaintiff”)
20
     pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
21
     the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)
22
     which provides in relevant part:
23
           (a) Voluntary Dismissal.
24
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66

26                       and any applicable federal statute, the plaintiff may dismiss an action

27                       without a court order by filing:
28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: September 17, 2024             SO. CAL. EQUAL ACCESS GROUP
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 9
10                                         By:      /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
